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            Exhibit
              A



                                                             Exhibit A
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